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7
                       IN THE UNITED STATES DISTRICT COURT
8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,       )         No. 1:10-CR-00131-AWI
11                                   )
                    Plaintiff,       )         STIPULATION RE: MODIFICATION
12                                   )         OF CONDITIONS OF RELEASE OF
          v.                         )         JOSEPH TAYLOR AND ORDER
13                                   )
     NOLAN ET AL,                    )
14                                   )
                    Defendants.      )
15   _______________________________ )
                                     )         Hon. Anthony W. Ishii
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17
          Defendant JOSEPH TAYLOR, by and through his attorney, ALLISON
18
     B. MARGOLIN, and the United States of America, by and through its
19
     attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN A.
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     ESCOBAR, Assistant United States Attorney, hereby enter into the
21
     following stipulation:
22
          1.    The parties to the above-captioned matter agree that Mr.
23
     Taylor’s conditions of release should be modified to include a
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     condition allowing him to participate in a program of medical or
25
     psychiatric treatment including treatment for drug and/or alcohol
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     dependency, and pay for costs as approved by the Pretrial Services
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     Officer.   All other previously ordered conditions of release would
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     remain in full force and effect.

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1         2.   Counsel has also discussed this modification of conditions
2    of release of Mr. Taylor with the Pretrial Services Officer in the
3    Eastern District of California and Pretrial Services approves of
4    the modification.
5
6
7    DATED: February 10, 2011                      Respectfully submitted,
8                                                  BENJAMIN B. WAGNER
                                                   United States Attorney
9
                                               By: /s/ Karen A. Escobar
10                                                 KAREN A. ESCOBAR
                                                   Assistant U.S. Attorney
11
12
                                                   /s/ Allison B. Margolin
13                                                 ALLISON B. MARGOLIN
                                                   Attorney for Defendant
14                                                 JOSEPH TAYLOR
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1                                        ORDER
2
          Having read and considered the foregoing stipulation,
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          IT IS THE ORDER of the Court that Mr. Taylor’s conditions of
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     release be modified to include the following condition: You shall
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     participate in a program of medical or psychiatric treatment
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     including treatment for drug and/or alcohol dependency, and pay for
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     costs as approved by the Pretrial Services Officer.
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          The Court further orders that all other previously ordered
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     conditions of release shall remain in full force and effect.
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     IT IS SO ORDERED.
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13   Dated:       February 12, 2011
     0m8i78                        CHIEF UNITED STATES DISTRICT JUDGE
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